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Richard J. McCord, Esq.

Robert D. Nosek, Esq. Hearing Date: October 4, 2018
CERTILMAN BALIN ADLER & HYMAN, LLP Time: 10:00 a.m.

Counsel to Michael O’Sullivan Objections; September 27, 2018
90 Merrick Avenue Time: 4:00 p.m.

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UNITED sTATES BANKRUPTCY CoURr

EASTERN DISTRICT oF NEW YoRK

""""""""""""" ""X Chapter 7

In rec ease NO.; 18-74000-1as

 

HAMPTON DREAl\/I PROPERTIES, LLC.,

Debtor.
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MOTION OF MICHAEL O’SULLIVAN TO DISMISS CHAPTER 7 CASE

TO: THE HONORABLE L()UIS A. SCARCELLA
UNITED STATES BANKRUPTCY JUDGE

Michael O’Sullivan (“O’Sullivan”), a party in interest herein, by and through his
counsel, Certilrnan Balin Adler & Hyrnan, LLP, Seeking an order pursuant to ll U.S.C.
§§ 105(a) and 707(a) and Federal Rule of Bankruptcy Procedure 1017, dismissing the
pending chapter 7 case of Hampton Drearn Properties, LLC (the “Debtor”), the above-
captioned debtor, and respectfully represents as follows:

BACKGROUND

l. On June 12, 2018 (the “Petition Date”), the Debtor filed a voluntary
petition under chapter 7 of the Bankruptcy Code.

2. On the Petition Date, Allan B. Mendelsohn (the “Trustee”) Was appointed

as the chapter 7 trustee of the Debtor’s estate.

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3. By order entered July 5, 2018 [ECF Doc. No. 13], Rosen, Kantrow &
Dillon, PLLC Was retained by the Trustee as his counsel for the Debtor’s case.

4. Michael O’Sullivan is the sole member and managing member of the
Debtor. See Dec. of Michael O’Sul_livan (hereinafter, the “O’Sullivan Declaration”) ‘ll 1.

5. The Debtor owns four parcels of real property (collectively, the “Real
Property”). See Schedule A/B, ECF Doc. No. ll. Those properties are subject to a
separate mortgage for each property (see Schedule D, ECF Doc. No. ll), each of which
were already recorded against the related parcel at the time the Debtor acquired title to
each property.

6. Other than the Real Property and $1,000 in a bank account, the Debtor had
no other assets as of the Petition Date. See Schedule A/B.

7. The Debtor was previously a debtor under chapter 11 of the Bankruptcy
Code (see Bankr. E.D.N.Y. Case No. l7-76188-las), which case was voluntarily
dismissed on January 31, 2018, after notice and a hearing, because the Debtor was unable
to negotiate with any of the holders of the mortgages against the real property and, thus,
unable to propose a confirmable plan.

8. Each parcel of Real Property is the subject of separate foreclosure actions
by the relevant mortgage holder, but with appeals pending Other companies in which
Mr. O’Sullivan has been involved with have been recently successful on appeal resulting
in a vacating of underlying judgments of foreclosure. See O’Sullivan Dec. jj 7. The
grounds of the appeals involving the Debtor’s properties are substantially similar to the

grounds on which he has previously prevailed Id. Thus, Mr. O’Sullivan believed that

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this filing would permit the Debtor additional time for its appeals to be resolved, thereby
resulting in vacating each judgment of foreclosure. Id.

9. Mr. O’Sullivan believes, in hindsight, that this chapter 7 filing was ill-
advised, and that he did not have a full understanding of the process involved with a
chapter 7 filing Ia’. at 11 8. His current understanding is also that the secured creditors
are not really creditors of the Debtor because the Debtor is not an obligor or guarantor
under any of the mortgages Ia’.

10. Moreover, because this is a corporate chapter 7 case, the Debtor will not
receive a discharge of any of its debts. See 11 U.S.C. § 727(a)(1) (“The court shall grant
the debtor a discharge, unless [ ] the debtor is not an individual[.]”). Any liens that attach
to the properties owned by the Debtor survive the closing of this case. Cf. Johnson v.
Home State Bank, 501 U.S. 78, 83, 111 S.Ct. 2150, 115 L.Ed. 2d 66 (1991) (“Creditor’s
right to foreclose on the mortgage survives or passes through the bankruptcy.”). Finally,
as the Debtor has no creditors, if any of the properties were to be sold by the Trustee,
which upon information and belief would require the consent of the secured creditor, the
secured creditor holding a claim against that property would be the only party to benefit
from such sale.

11. Accordingly, because the Debtor’s filing will not end up resulting in any
benefit to creditors, Mr. O’Sullivan respectfully requests that the case be dismissed

12. There would be no prejudice to the mortgage holders because the
automatic stay currently in place under § 362(a) of the Bankruptcy Code would expire

upon dismissal. See 11 U.S.C. § 362(0)(2)(B) (“[T]he stay of any other act under

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subsection (a) of this section continues until the earliest of . . . the time the case is
dismissed [.]”).

13. Mr. O’Sullivan is willing to pay for the costs that have been incurred by
the Trustee and his retained professionals to date in this case while this case has been
pending.

14. Notice of this Motion and the hearing thereon will be provided to all
parties in interest in this case, including the Office of the United States Trustee and all
parties holding a mortgage on the Real Property. The Debtor submits that no other or
further notice is necessary.

15. No application for the relief requested herein has been made to this or any
other Court, except as otherwise described above.

WHEREFORE, Mr. O’Sullivan respectfully requests that this Court enter an
order dismissing this case and provide such other and further relief as is just and proper.
Dated: East Meadow, New York

August 22, 2018

CERTILMAN BALIN ADLER & HYMAN, LLP
Counsel to Michael O’Sullivan

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